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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


    Pharmaceutical Research & Manufacturers
    of America, et al.,

                              Plaintiffs,

          v.                                    Case No. 1:20-cv-03402-TJK

    U.S. Department of Health and Human
    Services, et al.,

                              Defendants.


    Defendants’ Motion for a Second Extension of Time to Respond to the Complaint


       Defendants U.S. Department of Health and Human Services (“HHS”), Secretary

Xavier Becerra,1 U.S. Food and Drug Administration (“FDA”), and Acting

Commissioner of Food and Drugs Janet Woodcock now move this Court for a second

extension of the deadline to respond to the Complaint and request that the deadline be

extended until May 28, 2021.

       On November 23, 2020, Plaintiffs filed their Complaint, ECF No. 1, which

challenges a final rule issued by HHS and FDA regarding the importation of

prescription drugs, 85 Fed. Reg. 62,094 (Oct. 1, 2020). On November 30, the rule’s

effective date, id., Plaintiffs served the Complaint on the United States Attorney for the

District of Columbia, ECF No. 17.

       On January 20, 2021, a new presidential administration took office. That day, the

White House issued a memorandum to ensure the new Administration has a 60-day

period to review any new rules. See Memorandum from Ronald A. Klain, Assistant to

1Under Federal Rule of Civil Procedure 25(d), the public-officer defendants’ successors
are automatically substituted as parties.
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the President and Chief of Staff, regarding Regulatory Freeze Pending Review (Jan. 20,

2021), https://www.whitehouse.gov/briefing-room/presidential-

actions/2021/01/20/regulatory-freeze-pending-review/.

    Consistent with the purposes of that Memorandum, on January 26, 2021,

Defendants filed an unopposed motion requesting a 60-day extension of the deadline to

respond to the Complaint. ECF No. 22. The Court granted the motion, extending the

response deadline to March 30, 2021. Min. Order (Jan. 29, 2021).

    Defendants now request additional time to review this lawsuit and the significant
agency actions challenged herein. Additional officials at HHS and FDA continue to join

the new administration; indeed, the new Secretary was only confirmed by the Senate on

March 18, 2021. The relevant officials require additional time to assess the issues in this

case and engage in the necessary consultations and deliberations within the

government. The transition has been particularly challenging because many of these

same new officials are balancing competing priorities and playing critical roles in the

response to the ongoing COVID-19 pandemic. Accordingly, good cause exists to extend

Defendants’ deadline to respond to the Complaint from March 30 to May 28, 2021. See

Fed. R. Civ. P. 6(b)(1)(A).

    No other deadlines are affected by this request.

    Pursuant to Local Civil Rule 7(m), on March 17, 19, and 23, 2021, the undersigned

communicated with Plaintiffs’ counsel about this request. On March 24, Plaintiffs’
counsel informed the undersigned that Plaintiffs consent to the second requested

extension.

    Accordingly, Defendants request that their deadline to respond to the Complaint

be extended until May 28, 2021.




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March 24, 2021                            Respectfully submitted,

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                              CERTIFICATE OF SERVICE

    I hereby certify that this document, filed through the CM/ECF system, will be sent

via electronic mail to the registered participants as identified on the Notice of Electronic

Filing.


    March 24, 2021                               /s/ James W. Harlow
                                                 JAMES W. HARLOW
